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 5   Attorney for Defendant
     JAIME JIMINEZ
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
                                                                NO. Cr. S-07-0515 WBS
12 UNITED STATES OF AMERICA,
13                          Plaintiff,                          STIPULATION FOR
                                                                MODIFICATION OF
14            vs.                                               PRETRIAL RELEASE
                                                                CONDITION RE: THIRD
15 JAIME JIMINEZ,                                               PARTY CUSTODY AND
                                                                ORDER
16                          Defendant..
                                                                Judge: Dale A. Drozd
17
18
19                                              STIPULATION
20            Plaintiff, United States of America, by and through its counsel, Assistant United States
21   Attorney Michael Beckwith, and defendant Jaime Jiminez, by and through his attorney of record,
22   Hayes H. Gable III, agree and stipulate that the defendant’s pretrial release pretrial release
23   conditions may be modified to delete the requirement of third party custody. When the defendant
24   was released on November 20, 2007, on a $75,000 bond secured by real property owned by his
25   parents. Other conditions included that he be placed in the third party custody of his mother,
26   Bernardina Jimenez, and that he reside with his parents at 4140 Wheatley Circle, Sacramento, CA
27   95838.
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 1             Since his release, the defendant has complied with all the term and conditions of his pretrial
 2   release. He now seeks the modification of his pretrial release to delete the condition of third party
 3   custody and the attendant residency requirement. He, together with his wife and child, wishes to
 4   move out of his parents’ house with , due to the overcrowded conditions present there. He has
 5   located a residence for them to reside in.
 6             The undersigned has sought and obtained the approval of Pretrial Services Officer Steve
 7   Sheehan to the above-stated request.
 8             Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 9   Dated: April 27, 2009
                                                     Respectfully submitted,
10
                                                     LAWRENCE G. BROWN
11                                                   Acting United States Attorney
12                                                By: /s/ MICHAEL BECKWITH
                                                       MICHAEL BECKWITH
13                                                    Assistant U.S. Attorney
14                                                    /s/Hayes H. Gable, III
                                                    HAYES H. GABLE, III
15                                                  Attorney for Defendant
                                                    JAMIE JIMINEZ
16
17                                                    ORDER
18            Based upon the foregoing stipulation of the parties and with the agreement of the pretrial
19 services officer, and good cause appearing, the Court grants the defendant’s request that the terms of
20 the conditions of pretrial release be modified to delete the requirement of third party custody and
21 residency in the defendants’s parents’ home. All other conditions of release are to remain in full
22 force.
23 IT IS SO ORDERED.
24 DATED: April 27, 2009.
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28   Ddad1/orders.criminal/jiminez0515.stipord



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